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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                CRIMINAL ACTION

VERSUS                                                  NO. 09‐260

NEALWARD C. TAYLOR                                      SECTION “C”

                                ORDER AND REASONS

       This matter comes before the Court on motion under 28 U.S.C. § 2255 to vacate,

set aside or correct sentence filed by Nealward C. Taylor (ʺTaylorʺ). Taylor also filed a

pro se ʺWrit of Audita Querela Or In The Alternative = 3582(c)(2)ʺ seeking retroactive

application of the FSA. Rec. Doc. 198. Having considered the record, the memoranda

of counsel and the law, the Court has determined that the motions should be denied for

the following reasons.

       On March 31, 2010, Taylor entered a guilty plea to two counts count of an

indictment for conspiracy to distribute and possess with intent to distribute at five (5)

grams or more of cocaine base (ʺcrackʺ) in violation of 21 U.S.C. § 841(b)(1)(B)(iii) and §


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846, and for distribution of at five (5) grams or more of crack. Rec. Doc. 49. He also

plead guilty to a bill of information to establish prior convictions. On December 15,

2010, he was sentenced to a term of imprisonment of 156 months as to both counts, to

run concurrently. Rec. Docs. 87, 88. Taylor now challenges his sentence with the

argument that the Court did not apply the lower statutory minimums established in the

Fair Sentencing Act (ʺFSAʺ), and that pursuant to Dorsey v. United States, 132 S.Ct. 2321

(2012), he should be re‐sentenced. Rec. Doc. 203. The government opposes with the

argument that this motion has been waived and lacks merit.

       The record reflects that the Court did base its sentence on the provisions of the

FSA. The sentence imposed resulted in part from the amount of crack for which he

admitted responsibility. Taylor agreed that he was responsible for a total of 48 grams of

crack in the Factual Basis made part of the plea agreement. Rec. Doc. 51 at 2. To the

extent that it is relevant to the motion, there is no authority for application of the five (5)

grams of crack referenced in the indictment as opposed to the greater amount to which

the plaintiff pleaded guilty. The amount to which Taylor admitted far exceeds the new

28 gram minimum amount for 21 U.S.C. § 841(B)(1)(b)(iii). In contrast, the defendant in

Dorsey was responsible only for 5.5. grams of crack, which was less than the 28 grams

that triggers the FSAʹs new mandatory minimum provisions.



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       At the same time, Taylor was sentenced as a career offender under U.S.S.G.

§4B1.1. The Court applied an Offense Level of 34 and a Criminal History Score of VI to

reach a guideline imprisonment range of 262–327 months with a statutory minimum

sentence of ten years imprisonment, and actually granted a partial variance to 156

months based on the defendantʹs extensive criminal history. Rec. Doc. 207 at 7, 12.

Because Taylor was a career offender, his sentence is not subject to change under the

FSA. See United States v. Bell, 494 Fed.Appx. 843, 845‐46 (10th Cir. 2012.

       Accordingly,

       IT IS ORDERED that the motion under 28 U.S.C. § 2255 to vacate, set aside or

correct sentence and the ʺWrit of Audita Querela Or In The Alternative = 3582(c)(2)ʺ

filed by Nealward C. Taylor are DENIED. Rec. Doc. 198; Rec. Doc. 203.

       IT IS ORDERED that the motion to appoint counsel is DISMISSED as moot. Rec.

Doc. 198. The defendant is represented by counsel.

       New Orleans, Louisiana, this 1st day of August, 2013.




                                                  ___________________________________
                                                  HELEN G. BERRIGAN
                                                  UNITED STATES DISTRICT JUDGE




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